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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 17-24137-MGC



   MARICELA ESPINOSA,

         Plaintiff,

   v.

   M AND G SUPERMARKET, INC.,
   MAXIMO D. CUEVAS, and
   MARY L. CUEVAS,

         Defendants.


        DEFENDANTS’ MOTION FOR PROTECTIVE ORDER AND TO STAY DISCOVERY
              PENDING RULING OF DEFENDANTS’ MOTION TO DISMISS OR
                 ALTERNATIVE MOTION FOR SUMMARY JUDGMENT

         Defendants, M AND G SUPERMARKET, INC. (“M AND G”) and MAXIMO D. CUEVAS

  (“Defendants”), by and through the undersigned counsel, hereby files this Motion for Protective Order

  and to Stay Discovery Pending Ruling of Defendants’ Motion to Dismiss or Alternative Motion for

  Summary Judgment [DE 26], and further states as follows:

  1.     Plaintiff MARICELA ESPINOSA (“Plaintiff”) file an Amended Complaint [DE 21] alleging

         violations under the Fair Labor Standards Act (FLSA) and Florida Minimum Wage Act, for

         alleged wages owed to Plaintiff from Defendants.

  2.     In Response, Defendants filed a Motion to Dismiss or Alternatively for Summary Judgment

         [DE 26], arguing that Defendant M AND G SUPERMARKET, INC. (corporate Defendant) was
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        not a “covered employer” as defined by the relevant Act, because the corporate Defendant did

        less than the requisite gross annual revenue threshold (enterprise coverage) and further

        Plaintiff was not personally and directly involved in interstate commerce (individual coverage)

        as a local chef in South Florida, and thus the Plaintiff’s claims must be dismissed or for

        summary judgment to be entered in favor of Defendants.

  3.    Defendants provided substantiating evidence, by way of income tax returns and affidavits, that

        they were not, during the relevant period of time, a “covered employer” under the Act.

  4.    Instead of dismissing this action as would be reasonable under these circumstances, it is

        Plaintiff and her counsel’s modus operandi to attempt to extort a settlement from Defendants

        by applying unnecessary financial pressure to defend this frivolous action, before the

        Defendants’ Motion to Dismiss or Alternatively for Summary Judgment [DE 26] is ruled upon.

  5.    Plaintiff and her counsel are well-aware that the cost to defend this matter, and conduct full

        discovery, prior to the Court’s ruling on Defendants filed a Motion to Dismiss or Alternatively

        for Summary Judgment [DE 26], would cause great financial pressure unnecessarily on

        Defendants, and that such fees will soon likely dwarf the maximum potential liability of

        Plaintiff’s underlying claim.

  6.    For good cause shown, a court may enter a protective order to prevent a deposition from being

        conducted. Fed.R.Civ.P. 32(d)(1),

  7.    To that end, Plaintiff has unilaterally set a deposition of the corporate Defendant and

        Defendant MAXIMO D. CUEVAS for February 18, 2018, served discovery requests upon

        Defendants regarding all issues of the matter (not merely limited to the issue of FLSA
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        jurisdiction), as well as now attempting to take the deposition of the corporate Defendant’s

        accountant without reason.

  8.    Plaintiff did not allege in her Amended Complaint [DE 21], or otherwise, that the corporate

        Defendant’s records or income tax returns were in any way false or incorrect. Plaintiff would

        not be able to allege same, as she was wholly without any knowledge as to the finances of the

        corporate Defendant, as she served as a “Chef” for the Defendants’ local supermarket.

  9.    As Plaintiff is without any knowledge relating to the finances of Defendants’ business, her

        discovery and deposition requests are unnecessary at this time, are overbroad as not limited

        only to the issue of FLSA jurisdiction, and are intended to harass and cause financial strain on

        Defendants unnecessarily in an attempt to extort a settlement.

  10.   Should Defendants prevail upon its Motion to Dismiss or Alternatively for Summary Judgment

        [DE 26], the remaining issues, including those relating to hours, payment, individual liability,

        and willfulness, become moot as the Plaintiff would not be able to maintain her action against

        Defendants.

  11.   In the context of FLSA cases, like the instant one, in which jurisdiction is being challenged and

        an affidavit from a manager or owner of the company with knowledge of the returns submitted

        with a motion to dismiss, the motion may be considered without converting the motion to

        dismiss into a motion for summary judgment and without any additional discovery. See, e.g.,

        Cordero v. Red Grouper, Inc., 2008 WL 1781158 (M.D. Fla. 2008) (denying a motion to permit

        discovery limited to the issue of enterprise coverage and holding that tax returns are enough to

        decide the issue); Russell v. Continental Restaurant, Inc., 430 F. Supp.2d 521, 524 (D. Md. 2006)
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         (granting motion to dismiss filed by restaurant sued by a waitress, and disallowing any

         discovery with regard to the tax returns and affidavit submitted with the motion).

  12.    In this instance, it is respectfully submitted that the Honorable Court can resolve Defendants’

         Motion to Dismiss or Alternatively for Summary Judgment [DE 26], without additional

         discovery as there has been no showing, nor there any showing, that the income tax returns

         created by Defendants’ accountant and filed by Defendants are inaccurate in any way. As with

         other like cases, the income tax returns are enough, it is respectfully submitted, to decide the

         issue of enterprise coverage under the Act.

  13.    Should the Court permit discovery, the Defendants request that the Court limit discovery only

         to paper discovery on the issue of subject matter jurisdiction, and that discovery be limited to

         thirty (30) days. Delisle v. LGY Corp., 535 F. Supp. 2d 1266 (S.D. Fla. 2008); Guzman v.

         Irmadan, Inc., 2008 WL 926375 (S.D. Fla., Mar. 4, 2008).

  14.    As Defendants believe that they are likely to prevail on the issues raised by their Motion to

         Dismiss or Alternatively for Summary Judgment [DE 26], it is respectfully submitted that

         Defendants should be protected from the unilaterally scheduled depositions, including

         Defendants’ accountant, and the discovery requests served upon Defendants, pending the

         Honorable Court’s ruling on Defendants’ Motion to Dismiss or Alternatively for Summary

         Judgment [DE 26].

         WHEREFORE, Defendants M AND G SUPERMARKET, INC. and MAXIMO D. CUEVAS,

  request that this Honorable Court enter an Order granting the instant motion for protective order and

  stay on all discovery that has been, or will be served, or noticed, upon Defendants, including the
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  deposition unilaterally set for February 18, 2018, and the deposition of Defendants’ accountant, until

  the Court has ruled upon Defendants’ Motion to Dismiss For Lack of Subject Matter Jurisdiction, in

  the Alternative, Request to Convert Motion Into Motion for Summary Judgment [DE 26], or in the

  alternative, to permit Plaintiff conduct paper discovery only on the issue of FLSA jurisdiction to be

  completed within thirty (30) days, and/or for such other relief as this Honorable Court deems

  reasonable.




  DATED: February 14, 2018

                                                        Respectfully submitted,

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                                                        By: /s/ Brian Militzok
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                                       CERTIFICATE OF SERVICE



          I HEREBY CERTIFY that on February 14, 2018, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record identified on the attached Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

  for those counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

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